Case 8:15-cv-01698-DDP-DFM Document 65 Filed 09/15/17 Page 1 of 3 Page ID #:341



      Jeff S. Westerman (94559)
    1 jwesterman@jswlegal.com
      WESTERMAN LAW CORP.
    2 1900 Avenue of the Stars, 11th Floor
      Los Angeles, CA 90067
    3 Telephone: (310) 698-7880
      Facsimile: (310) 775-9777
    4
      Darren O. Aitken (145251)
    5 darren@aitkenlaw.com
      Atticus Wegman (273469)
    6 atticus@aitkenlaw.com
      AITKEN AITKEN COHN
    7 3 MacArthur Place, Suite 800
      Santa Ana, CA 92707
    8 Telephone: (714) 434-1424
      Facsimile: (714) 434-3600
    9
      Jessica J. Sleater (Pro Hac Vice)
   10 jessica@andersensleater.com
      ANDERSEN SLEATER SIANNI LLC
   11 1250 Broadway, 27th Floor
      New York, NY 10001
   12 Telephone: (646) 599-9848
   13 Counsel for Plaintiff
   14                       UNITED STATES DISTRICT COURT
   15                      CENTRAL DISTRICT OF CALIFORNIA
   16                                              ) Case No: SACV 15-01698 DDP
   17                                              ) (DFMx)
        ROBERT COHEN, individually and on          )
        behalf of all others similarly situated,   ) PLAINTIFF’S NOTICE OF
   18                                              ) MOTION AND MOTION FOR (1)
                                 Plaintiff,        ) CONDITIONALLY CERTIFYING
   19                                              ) A SETTLEMENT CLASS, (2)
              v.                                   ) PRELIMINARILY APPROVING
   20                                              ) CLASS ACTION SETTLEMENT,
        FOOTHILL/EASTERN                           ) (3) APPROVING NOTICE PLAN,
   21   TRANSPORTATION CORRIDOR                    ) AND (4) SETTING FINAL
        AGENCY; SAN JOAQUIN HILLS                  ) APPROVAL HEARING;
   22   TRANSPORTATION CORRIDOR                    ) MEMORANDUM OF POINTS
        AGENCY; 3M COMPANY and BRIC-               ) AND AUTHORITIES IN
   23   TPS LLC,                                   ) SUPPORT
   24                                              )
                                 Defendant.        ) Date: October 16, 2017
   25                                              ) Time:10:00 a.m.
                                                   ) Courtroom: 3
   26                                              )
                                                   ) Judge: Hon. Dean D. Pregerson
   27                                              )

   28

                                                   Case No. SACV15-1698 DDP (DFMx)
Case 8:15-cv-01698-DDP-DFM Document 65 Filed 09/15/17 Page 2 of 3 Page ID #:342




    1 TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
    2          PLEASE TAKE NOTICE THAT on October 16, 2017, at 10:00 a.m.
    3 before the Honorable Dean D. Pregerson, United States District Court Judge for
    4 the Central District of California, Plaintiff, by and through his undersigned counsel
    5 of record, will move, pursuant to Fed. R. Civ. P. 23(e), for the Court to: (i) grant
    6 preliminary approval of the proposed Stipulation and Agreement of Settlement and
    7 Release (“Settlement Agreement”),1 (ii) provisionally certify the Settlement Class
    8 for the purposes of preliminary approval, designate Plaintiff as the Class
    9 Representative, and appoint Andersen Sleater Sianni LLC, Westerman Law Corp.
   10 and Aitken Aitken Cohn as counsel for the Settlement Class, (iii) establish
   11 procedures for giving notice to members of the Settlement Class, (iv) approve
   12 forms of notice to Settlement Class Members, (v) mandate procedures and
   13 deadlines for exclusion requests and objections, and (vi) set a date, time, and place
   14 for a final approval hearing.
   15          This motion is made on the grounds that preliminary approval of the
   16 proposed class action settlement is proper, given that each requirement of Rule
   17 23(e) has been met.
   18          This motion is based on the attached Memorandum of Points and
   19 Authorities, the accompanying Declarations of Jessica J. Sleater and exhibits
   20 thereto, including the Settlement Agreement, the pleadings and papers on file
   21 herein, and any other written and oral arguments that may be presented to the
   22 Court.
   23          CIVIL RULE 7-4(a)(3) STATEMENT OF ISSUE TO BE DECIDED
   24
   25
        1
       All capitalized terms herein that are not otherwise defined have the definitions set
   26 forth in the Settlement Agreement, filed concurrently herewith. See Sleater Decl.
      Ex. 1.
   27
                                                     1
   28             Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
                                Case No. SACV15-1698 DDP (DFMx)
Case 8:15-cv-01698-DDP-DFM Document 65 Filed 09/15/17 Page 3 of 3 Page ID #:343




    1        Whether the Court should preliminarily approve the proposed class action
    2 settlement pursuant to Fed. R. Civ. P. 23(e).
    3
        Dated: September 15, 2017        WESTERMAN LAW CORP.
    4                                    JEFF S. WESTERMAN
    5
    6                                    By: /s/ Jeff S. Westerman
    7                                    Jeff S. Westerman (94559)

    8                                    jwesterman@jswlegal.com
                                         1900 Avenue of the Stars, 11th Floor
    9                                    Los Angeles, CA 90067
                                         Telephone: (310) 698-7880
   10                                    Facsimile: (310) 775-9777
   11                                    Darren O. Aitken (145251)
                                         darren@aitkenlaw.com
   12                                    Atticus Wegman (273469)
                                         atticus@aitkenlaw.com
   13                                    AITKEN AITKEN COHN
                                         3 MacArthur Place, Suite 800
   14                                    Santa Ana, CA 92707
                                         Telephone: (714) 434-1424
   15                                    Facsimile: (714) 434-3600
   16                                    Jessica J. Sleater (Pro Hac Vice)
                                         jessica@andersensleater.com
   17                                    ANDERSEN SLEATER SIANNI LLC
                                         1250 Broadway, 27th Floor
   18                                    New York, NY 10001
                                         Telephone: (646) 599-9848
   19
   20                                    Attorneys for Plaintiff ROBERT COHEN
   21
   22
   23
   24
   25
   26
   27
                                                    2
   28             Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
                                  Case No. SACV15-1698 DDP (DFMx)
